                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

IN RE AGFEED INDUSTRIES, INC.            )     Lead Case No. 3:11-cv-01087
DERIVATIVE LITIGATION                     )
                                          )    Judge Todd J. Campbell
                                          )    Magistrate Judge E. Clifton Knowles
                                          )
                         _______________________________________

                   SUGGESTION OF BANKRUPTCY AND NOTICE OF
                        OPERATION OF AUTOMATIC STAY
                      ______________________________________


       PLEASE BE ADVISED that on July 15, 2013, AgFeed Industries, Inc. (the “Debtor”), a

defendant in this action, filed a voluntary petition for relief under Chapter 11 of the United States

Bankruptcy Code (the “Bankruptcy Code”), in the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”), Case Number 13-11761. As a result of the

bankruptcy filing, any further action against the Debtor is stayed under section 362(a) of the

Bankruptcy Code.

       PLEASE BE FURTHER ADVISED that any action taken against the Debtor or its

property without obtaining relief from the automatic stay from the Bankruptcy Court may be

subject to a finding of contempt and the assessment by the Bankruptcy Court of penalties, fines

and/or sanctions, as may be appropriate.



                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 19, 2013, I electronically filed the foregoing document with
the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
to the following counsel of record:

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